Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 1 of 22




                  Exhibit 17




                  Exhibit 17
12/16/2016     Case 4:16-cv-03155 Memorandum
                                   Document      18-12
                                             -- White        FiledMoonshot
                                                      House Cancer on 12/16/16
                                                                           Task Force | in TXSD Page 2 of 22
                                                                                        whitehouse.gov




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      Speeches & Remarks

      Press Brieﬁngs

      Statements & Releases

      White House Schedule

      Presidential Actions

         Executive Orders

         Presidential Memoranda

         Proclamations

      Legislation

      Nominations & Appointments

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12/16/2016     Case 4:16-cv-03155 Memorandum
                                   Document      18-12
                                             -- White        FiledMoonshot
                                                      House Cancer on 12/16/16
                                                                           Task Force | in TXSD Page 3 of 22
                                                                                        whitehouse.gov




https://www.whitehouse.gov/the-press-ofﬁce/2016/01/28/memorandum-white-house-cancer-moonshot-task-force        2/5
12/16/2016     Case 4:16-cv-03155 Memorandum
                                   Document      18-12
                                             -- White        FiledMoonshot
                                                      House Cancer on 12/16/16
                                                                           Task Force | in TXSD Page 4 of 22
                                                                                        whitehouse.gov




https://www.whitehouse.gov/the-press-ofﬁce/2016/01/28/memorandum-white-house-cancer-moonshot-task-force        3/5
12/16/2016     Case 4:16-cv-03155 Memorandum
                                   Document      18-12
                                             -- White        FiledMoonshot
                                                      House Cancer on 12/16/16
                                                                           Task Force | in TXSD Page 5 of 22
                                                                                        whitehouse.gov




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12/16/2016     Case 4:16-cv-03155 Memorandum
                                   Document      18-12
                                             -- White        FiledMoonshot
                                                      House Cancer on 12/16/16
                                                                           Task Force | in TXSD Page 6 of 22
                                                                                        whitehouse.gov




https://www.whitehouse.gov/the-press-ofﬁce/2016/01/28/memorandum-white-house-cancer-moonshot-task-force        5/5
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 7 of 22




                  Exhibit 18




                  Exhibit 18
   Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 8 of 22


      The Moon Shot: A National Immunotherapy
         Initiative for the Conquest of Cancer
            The Cancer QUILT Coalition to Develop a Cancer Vaccine for N=1

Background: In his seminal report on the “Cancer Crusade” Richard A. Rettig states, “The large
issue that divided people the most had to do with how scientific research be supported to
improve the health of the American public most effectively and rapidly? On this key issue there
was and is today an underlying, unresolved conflict”. This issue stated in 1977 still remains
today almost 40 years later.

There are unique times when events and advances in technologies converge to elicit a quantum
leap in progress. That time is now for the rapid exploitation of immunotherapy for the benefit
of millions of cancer patients. The cloning of the human genome has led to an enormous
knowledge base as to how cancers are initiated and progress. Over the last several years
scientists studying the cancer process have elucidated the fact that the vast majority of cancers
arise and progress due to numerous mutations in cancer cells. Moreover, for the most part,
each patient’s cancer is unique in terms of the nature and number of mutations. It has now
been realized that this is one of the major reasons why many existing therapeutic regimens
designed to target a single or even a few mutations have had limited success to date.

The Age of Immunotherapy in Cancer: The human immune system has evolved over the
millennia to combat an enormous range of invasive entities, such as viruses and bacteria;
indeed, the immense diversity of the healthy, intact human immune system is believed to be
responsible for eliminating many potentially cancerous cells that arise during a lifetime. This is
evidenced by studies that have shown that individuals with impaired immune systems, such as
long term AIDS patients, will develop more cancers than individuals with a normal immune
system. It is this unique diversity and the remarkable ability to survey and eliminate harmful
entities that defines the human immune system, which can be exploited to combat the
individual mutations reflected in so-called neo-antigens in tumor cells. The potential thus now
exists to develop immunotherapies tailored to the unique tumor signature of individual
patients.

Enhanced understanding of how individual components of the immune system function and
new findings in cancer cell biology have now merged to drive the development of new
immunotherapy approaches to combat cancer. In the last few years several of these
immunotherapies have been approved by the FDA for the treatment of patients with some
forms of lung cancer, melanoma, and prostate cancer. But this benefits only a fraction of cancer
patients and much more progress in this area must be made.

A paradigm shift in cancer care from highly toxic, high dose chemotherapy to considerably less
toxic immunotherapy is upon us. This is significant since combinations of low dose
chemotherapy, radiotherapy and immunotherapeutics can be used with fewer compounding
toxicities and thus provide a better quality of life for the cancer patient. A major point of
emphasis, moreover, is that each type of cancer immunotherapy appears to activate a different


Page 1 of 3 – QUILT NII – 3 Pager White Paper on The Moon Shot V2.docx
   Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 9 of 22


component of the immune system and when used in combination, is more effective. To date,
there are literally dozens of novel cancer immunotherapeutic agents in active clinical studies.

The Obstacles: One of the major challenges now facing rapid progress in this field is that
numerous pharmaceutical and biotech companies each have their own immunotherapeutic
agents in the form of antibodies, immune cells, and vaccines in preclinical and clinical studies.
Taken together with the enormous heterogeneity and antigenic profiles of individual patients
cancer cell, it is a challenge at this time to define which of these numerous agents, when used
in combinations, will prove optimal for each type and stage of cancer. Progress is clearly not
moving as rapidly as possible due to the development in silos of many of these agents, and the
lack of a coordinated combinatorial development effort.

For this reason we are proposing a National Immunotherapy Initiative to collectively undertake
a QUILT (QUantitative, Integrative, Lifelong, Trial) in patients with cancer to develop an
immunotherapy approach designed ultimately as a vaccine for N=1. This QUILT trial will be
implemented by a QUILT Coalition where the National Cancer Institute, big pharma, biotech
companies and private foundations can pool resources and the agents they have developed to
more rapidly define which new immunotherapeutics and combinations of immunotherapies will
most benefit patients with various cancer types and stages; and where regulatory agencies such
as the FDA can provide guidance for combinations of innovative agents amongst these various
entities; and where insurance companies and self insured payors can gain insight into outcomes
and cost to reimburse for value;

Potential members of this coalition to launch the National Immunotherapy Initiative have
gathered to discuss obstacles that may impede the successful moon shot for cancer and the
goal of establishing an effective vaccine immunotherapy treatment for this disease in 5 years
rather than a decade.

The Proposal: A union of forces to successfully implement the opportunity of combinatorial
immunotherapies in the war against cancer. The goal is to obtain a commitment by members of
the QUILT Coalition to collectively address the obstacles that may impede rapid clinical
implementation of the National Immunotherapy Initiative.
The issues needing to be addressed are:

   1. Validation of Big Science: Complex science involving the human immune system and
      the validation of the safety and efficacy of combination therapy must be tested by
      reputable scientific enterprises in an unbiased manner without any prejudices other
      than the interest of the patient.

   2. Access to novel agents and approved drugs: One of the major challenges facing rapid
      progress in this field is that numerous pharmaceutical and biotech companies each have
      their own immunotherapeutic agents in the form of antibodies, immune cells, and
      vaccines in preclinical and clinical studies.

   3. FDA Regulation: Novel approaches for the adaptive combination of novel agents in this
      new paradigm where the combined multi-agents serves as a systems biological
      approach to the treatment of cancer are needed.

Page 2 of 3 – QUILT NII – 3 Pager White Paper on The Moon Shot V2.docx
  Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 10 of 22



   4. Care coordination and real-time monitoring of safety and outcomes with integration of
      complex molecular data, phenotypic data obtained from disparate electronic records
      are needed.

   5. Ability to measure outcomes and cost in real time to enable payors to pay for value
      rather than procedures.

   6. Network Infrastructure: Highly Secure Bandwidth to Transmit Big Data & Interrogate
      complex molecular information in large scale

The QUILT Coalition will address each of these problems by bringing together stakeholders each
of whom have the ability to solve these interdependent obstacles within their own sphere of
activity and authority.

   1. Validation of Big Science: The NCI and major academic cancer centers will collectively
      address the unbiased clinical validation of the science.

   2. Access to novel agents and approved drugs: Biotech and big pharma should commit to
      make available their approved drugs and drug pipeline to be tested in combination trials
      by credible unbiased organizations such as the NCI.

   3. FDA Regulation: The FDA should commit to adopting innovative, adaptive, clinical trials
      allowing combination of innovative agents to test the biological system in the era of
      precision medicine

   4. Care coordination: Academic centers and community oncologist should collaborate to
      enable treatment to be administrated at the local communities rather than require
      patients to travel to tertiary academic centers to access clinical trials. Major academic
      centers should commit to support the scientific education and participation of
      community oncologist in clinical trials, clinical practices in this new era of 21st century
      immunotherapy.

   5. Ability to measure outcomes and cost: EMR vendors should commit to enable the free
      flow of clinical information to enable real-time measurement of outcomes and cost.
      Payors should establish innovative payment models to pay for value and outcomes
      rather than procedures.




Page 3 of 3 – QUILT NII – 3 Pager White Paper on The Moon Shot V2.docx
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 11 of 22




                   Exhibit 19




                   Exhibit 19
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 12 of 22
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 13 of 22
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 14 of 22
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 15 of 22
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 16 of 22
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 17 of 22
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 18 of 22
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 19 of 22
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 20 of 22
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 21 of 22
Case 4:16-cv-03155 Document 18-12 Filed on 12/16/16 in TXSD Page 22 of 22
